AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

INFORMATION ASSOCIATED WITH A FORENSIC
RESULTS OF A BLACK IPhone, MODEL: A1661, FCC
ID: BCG-E3Q87A, IC: 579C-E3087 THAT IS STORED AT
THE FOND DU LAC POLICE DEPARTMENT LOCATED
AT 126N. MAIN ST, FOND DU LAC, WI, 54935

Case No. (] M 065

 

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
mi evidence of a crime;
ml contraband, fruits of crime, or other items illegally possessed;
mi property designed for use, intended for use, or used in committing a crime;
L) a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 18 U.S.C. § 922(g), 18 U.S.C. § 922(d), 18 U.S.C. § 922(a)(6), 21 U.S.C. § 841(a) (1)

The application is based on these facts: See attached affidavit.

LI Delayed notice of days (give exact ending date if more than 30 days: is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached_sheet.

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Special Agent Ryan Arnold, ATF
Printed Name and Title

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Sworn tg before me and signed in my presence:

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City and State: Milwaukee, Wisconsin Honorable David E. Jones _U.S. Magistrate Judge
Printed Name and Title

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Ryan Arnold, being first duly sworn, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
authorization to review forensic results and reports associated with a black IPhone,
Model: A1661, FCC ID: BCG-E3Q87A, IC: 579C-E3087, associated with Fond du Lac
Police Department (FDLPD) Inventory No. 22 (herein referred to as Device A), anda
blue Verizon Samsung flip phone, Model: SM-B311V, SKU: SMB311VZPP, FCC ID:
A3LSMB311V, MEID HEX: A00000475A0080, associated with FDLPD Inventory No. 22
(herein referred to as Device B). Device A and Device B were recovered on April 12,
2017 during the arrest of Shakie L. Davis (DOB: 11/15/1994), at W6854 Blue Heron
Boulevard, Apartment #16, Fond du Lac, Wisconsin. The Lake Winnebago Area
Metropolitan Enforcement Group (LWAM) did the arrest. Davis was subsequently

charged in Fond du Lac County Case 17-CF-230 for the following State of Wisconsin

violations:
e Possession with intent to deliver heroin
e Possession with the intent to deliver cocaine
e Manufacturing and delivery of cocaine
e Maintaining a drug trafficking place
2. Local law enforcement agents obtained a search warrant to search Device

A and Device B, and the forensic results of Device A and Device B are currently stored

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at the Fond du Lac Police Department, located at 126 N. Main Street, Fond du Lac, WI.
It is believed that the forensic results of these cellphones may contain evidence of
violations of 18 U.S.C. § 922(g) (possession of firearm by prohibited person), 18 U.S.C. §
922(d) (sale or transfer of firearm to a prohibited person), 18 U.S.C. § 922(a)(6) (False
statement as to material fact to FFL), (21 U.S.C. § 841(a) (1) (manufacture, dispense,
disperse a controlled substance). As a result, a request is submitted for a search warrant
to review the forensic results of these devices. The information to be searched is
described in the following paragraphs and in Attachment A.

3. Iam a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and have been since April 2015. As an ATF Agent, I have participated
in numerous investigations regarding the unlawful possession of firearms by convicted
felons. I have also conducted investigations related to the unlawful use of firearms,
firearms trafficking, drug trafficking, and arson.

4. Prior to my employment with ATF, I was a Special Agent with the United
States Secret Service (USSS) for approximately 5 years. My duties included providing
and planning dignitary protection, drafting and executing Federal search warrants,
investigations of organized crime networks, investigations of threats against USSS
protectees, fraud networks, counterfeit currency investigations, and other financial
crime investigations.

5. Before my tenure with the USSS, I served as a police officer with the
Chicago, Illinois, Police Department (CPD). During part of my career as a CPD Officer,

I was assigned to the Organized Crime Division-Gang Enforcement Unit. My

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responsibilities included the investigations of street gangs, narcotics distribution,
firearms violations, robbery, home invasions, operating in an undercover capacity, and
the authoring and execution of search warrants.

6. Furthermore, Your Affiant knows from training and experience it is
common for drug users and drug dealers to communicate via cellular phone through a
variety of electronic media. It also common for firearm traffickers and straw buyers to
communicate through cellular phones and electronic media. Many times drug dealers
also act as firearms traffickers by utilizing the non-prohibited status (no felony
convicitons) of drug users to obtain firearms. In turn, these firearms are used by the
drug trafficking organization to protect and secure their goods and territory. The
participants in these organizations can use text (SMS) messaging, phone calls, electronic
mail, messaging applications, and various social media applications such as Facebook
or Twitter. Furthermore, I know that Device A and Device B have the capability to use
these applications and programs. Device A and Device B are also devices that can
document the historical location of a cellular phone through Global Positioning System
(GPS) technology. This could provide useful information into this investigation.

7. Based on my training and experience and the facts as set forth in this
affidavit, there is probable cause to believe that the forensic results from the Fond du
Lac Police Department for Device A and Device B have evidence of crimes committed in
violation of 18 U.S.C. § 922(g) (possession of firearm by prohibited person) , 18 U.S.C. §
922(d) (sale or transfer of firearm to a prohibited person), 18 U.S.C. § 922(a)(6) (False

statement as to material fact to FFL), 21 U.S.C. § 841(a) (1) (manufacture, dispense,

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disperse a controlled substance). The forensic results from Device A and Device B are
contained within FDLPD/LWAN generated reports, which are easily transferrable to an
electronic storage device. The forensic results detail the contents of the cellphones and
were seized after FDLPD/LWAN obtained a state search warrant. There is also
probable cause to search the information described in Attachment A for evidence of
these crimes, as described in Attachment B.

8. The forensic results from Device A and Device B contain items such as,
but not limited to: call logs, phonebooks, saved usernames and passwords, text
messages, emails, videos, documents, Internet browsing history, deleted, edited and
current forms of these items, evidence of user attribution showing who used or owned
the devices at the time the things described in this warrant were created, edited, or
deleted, such as call logs, phonebooks, saved usernames and passwords, text messages,
emails, videos, documents, and Internet browsing history, device information, GPS
coordinates or device location, any external memory device such as, but not limited to,
SIM cards, and as used above, the terms “records” and “information” include all of the
foregoing items of evidence in whatever form and by whatever means they may have
been created or stored, including any form of electronic storage and any photographic
form.

9. The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other investigators and

witnesses. This affidavit is intended to show merely that there is sufficient probable

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cause for the requested warrant and does not set forth all of my knowledge about this
matter.
II. IDENTIFICATION OF ITEMS TO BE SEARCHED

10. The information associated with a black IPhone, Model: A1661, FCC ID:
BCG-E3Q87A, IC: 579C-E3087, associated with Fond du Lac Police Department
(FDLPD) Inventory No. 22 (herein referred to as Device A).

11. The information associated with a blue Verizon Samsung flip phone,
Model: SM-B311V, SKU: SMB311VZPP, FCC ID: A3LSMB311V, MEID HEX:
A00000475A0080, associated with FDLPD Inventory No. 22 (herein referred to as Device
B).

12. The applied-for warrant would authorize the search and recovery of
evidence particularly described in Attachment B.

PROBABLE CAUSE

13. Your Affiant learned of possible violations of 18 U.S.C. § 922(g)
(possession of firearm by prohibited person), 18 U.S.C. § 922(d) (sale or transfer of
firearm to a prohibited person), 18 U.S.C. § 922(a)(6) (False statement as to material fact
to FFL), 21 U.S.C. § 841 (a)(1) after Affiant reviewed the ATF eTrace database and
discovered unusual activity connecting Chicago, Illinois and Fond du Lac, Wisconsin
through traced firearms. Affiant knows from information published by the ATF’s
Violent Crime Analysis Branch (as of June 16, 2016) the national average for a gun to be
recovered in a crime by law enforcement after the original purchase date is 10.48 years

(also known as “time to crime”). Additionally, the average time to crime of firearms in

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Illinois is 11.81 years and 8.18 years in Wisconsin. Affiant discovered several people
who received firearms from Federal Firearms Licensees (FFLs) that were later recovered
in crimes in the Chicago area; the time to crime was smaller than the average time to
crime. In particular, firearms purchased by Justin Norton, Michael Ackley, Corey
Donaldson, Michael Warner, Timothy Grossman, and Nicholas Devries, Sr., were
transferred firearms by FFLs that were ultimately recovered by law enforcement in or
near the west side of Chicago.

14. Affiant knows from training and experience that a short time to crime can
be an indicator of firearms trafficking. Furthermore, Affiant also knows from training
and experience that Wisconsin is a source state for firearms trafficked to Chicago. It
common for firearms to be purchased at FFLs by “straw buyers” to later be exchanged
for money, illegal drugs, or other goods. A “straw buyer” is terminology used to
describe a subject who purchases a firearm with the intent to provide the firearm to a
second individual who is often prohibited from purchasing or possessing firearms. The
transaction is usually described as a “straw purchase.” The “straw purchase” is
typically performed to conceal the identity of the true possessor of the firearm.

15. Affiant also discovered that a portion of the traced firearms that I was
investigating linked to firearm recoveries in Chicago and to gang members from the
following gangs: Four Corner Hustlers, Vice Lords, and Gangster Disciples.
Additionally, many of these firearms were recovered in a similar geographic location on
the west side of Chicago where the above gangs are known to operate. Your Affiant

knows that the aforementioned gangs are some of the largest street gangs in Chicago.

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Additionally, Affiant knows from training and experience that the Four Corner Hustlers
and Vice Lords are historically allied and are aligned under the People Nation alliance.
Therefore, it is not uncommon for the two gangs to operate in concert.

16. Your Affiant knows from training and experience that geographic
redundancy can be a strong indication of firearms trafficking. To illustrate, when
firearms originate from a concentrated geographic location and are recovered by law
enforcement in a second concentrated geographic location, this can be indicator of an
organized, illegal firearms trafficking organization. In this instance, Affiant has
identified numerous firearms purchased by residents in the Fond du Lac area that have
been recovered on the west side of Chicago and the near western suburbs.

17. Your Affiant also knows from training and experience that the movement
of the firearms over numerous jurisdictions is a common strategy utilized by criminal
organizations to avoid detection by law enforcement and any subsequent
investigations. Furthermore, the movement of firearms over a vast distance can also be
indicative of an illegal drug trade route.

FIREARMS RELATED TO JUSTIN NORTON

18. During the review of suspicious firearm traces, Affiant discovered that
Justin Norton (DOB: 07/15/1988) of Fond du Lac, WI, purchased at least ten (10)
firearms during 2016. These firearms were transferred from FFLs Mills Fleet Farm
located at 629 Rogersville Road, Fond du Lac, WI and Midwestern Shooter’s Supply
located at 191 Church Street, Lomira, WI. Of these firearms, the following three (3)

were recovered on the west side of Chicago:

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e Firearm 1: Springfield model XD, 9mm pistol displaying serial number
XD824759 transferred to Norton on 08/25/2016 (herein referred to as Firearm 1)

° Firearm 2: Smith & Wesson, model SD40VE, .40 caliber pistol displaying
serial number FXT4223 transferred to Norton on 08/16/2016 (herein referred to Firearm
2)

° Firearm 3: Glock, model 23, .40 caliber pistol, displaying serial number
BBTE120, transferred to Norton on 05/14/2016 (herein referred to Firearm 3)

FIREARM 1

19. On October 17, 2016, Firearm 1 was recovered by the Chicago Police
Department (CPD) at 1524 N. Lawler Avenue, Chicago. CPD recovered the firearm after
a parole officer was provided information that Firearm 1 was located in a garbage can
near the above address. This recovery occurred 50 days after it was purchased by
Norton in Wisconsin.

20. Subsequent to the recovery of Firearm 1, CPD tested Firearm 1 and
entered it into the Integrated Ballistics Identification System (IBIS) to determine if it
could be linked to other criminal incidents. CPD was able to utilize the IBIS testing to
correlate Firearm 1 to the following incidents:

e Incident 1 (CPD Report No. HZ420453): On September 4, 2016, CPD
recovered ten (10) expended, 9mm Luger casings after responding to a shots fired call
that resulted in the arrest of Cortaz L. Gibson (black/male/DOB: 10/02/1991 - Four
Corner Hustler) at 4906 W. Crystal Street, Chicago, IL. The above 9mm casings were

correlated through IBIS to Firearm 1.

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° Incident 2 (CPD Report No. HZ465660): On October 07, 2016, CPD
responded to a “Person Shot” call at 5417 W. North Avenue, Chicago, IL. Lexie Pollards
(DOB: 10/09/1989 - Mafia Insane Vice Lord) was struck by a bullet fired from a Lincoln
Mark VIII automobile. CPD recovered seven (7) 9mm casings near the scene. These -
casings were correlated through IBIS to Firearm 1.

° Incident 3 (CPD Report No. HZ474072): On October 14, 2016, CPD
responded to a shots fired call at 1635 N. Austin Avenue, Chicago, IL, and recovered
five (5), expended 9mm rounds. These casings were correlated through IBIS to Firearm

‘1.

21. Due to the above correlations through testing, the new time to crime from
the purchase of Firearm 1 in Wisconsin until its first documented use in a crime was
seven (7) days. Additionally, all the above incidents occurred within the boundaries of
the 25th District of CPD on the west side of Chicago.

FIREARM 2
22. On December 13, 2016, Firearm 2 was recovered by CPD at 1545 S.
Christiana Avenue, Chicago, Illinois in the 10th District. CPD recovered the firearm
during the arrest of Derrick Watkins (DOB: 08/06/1989 - Traveling Vice Lord) for
possession of firearm by felon. This recovery occurred on the near, west side of
Chicago.
FIREARM 3
23. On February 22, 2017, CPD recovered Firearm 3 during the arrest of

convicted felon, Jason Spinks (DOB: 06/11/1983-Four Corner Hustler), at 3859 W.

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Division Street, Chicago while operating a vehicle owned by Jessica Rodriguez. A
database search revealed that Rodriguez had links to addresses in Chicago and Fond du
Lac. Rodriguez linked to 5233 W. Crystal Avenue, Chicago, which is located in the 25
District of Chicago on the west side of the city. Rodriguez also linked to 96 E. 2nd
Street, Fond du Lac. This arrest occurred within the boundaries 25th district of CPD on
the west side of Chicago.

24. After Firearm 3 was recovered by CPD, it was submitted for IBIS testing to
determine if there were any correlation to Firearm 3 from previous incidents. IBIS
testing determined the following correlated incidents:

° Incident 1 (CPD Report No. HZ330036): On June 30, 2016, CPD responded
to a person shot call at 5226 W. LeMoyne Street, Chicago. The victim explained that a
black male with dreadlocks discharged a firearm striking her in the wrist and forearm.
CPD recovered seven (7) spent 40 caliber shell casings correlated to Firearm 3, one (1)
spent 9 mm shell casings from a second firearm, and four (4) spent .40 caliber shell
casings from a third firearm.

° Incident 2 (CPD Report No. HZ501395): On November 03, 2016, CPD
responded to a criminal damage to vehicle call at 1235 N. Lockwood Avenue, Chicago.
Upon arrival, officers observed that the victim’s vehicle was struck by gunfire. CPD
recovered one (1) spent .40 caliber cartridge casing correlated to Firearm 3, sixteen (16)
expended .40 caliber cartridge casings from a second firearm, and fourteen (14)

expended .45 caliber cartridge casings from a 3rd firearm.

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25. Due to the above IBIS correlations, the new time to crime for Firearm 3 is
approximately 47 days from its purchase in Wisconsin.

26. Affiant noted that the above shots fired and persons shot incidents each
occurred within the boundaries of the 25' District of CPD. Additionally, the above
firearms were recovered by CPD in the 10, 11, and 25th Districts of CPD. These
districts geographically adjoin in a consecutive fashion and are located on the Chicago’s
west side. Affiant knows from his time as a Chicago Police Officer that these recoveries
occurred in a small geographic area of Chicago.

REVIEW OF ATF FORM 4473S FOR NORTON

27. SA Arnold reviewed Norton’s ATF Form 4473s, which are firearm
transactions records, and discovered several telephone numbers written on the forms.
SA Arnold knows from experience this is common practice for FFLs to write the
telephone number of the customer on the ATF Form 4473. The following numbers were
observed on Norton’s forms:

e 920-204-8175

° 920-375-0336

e 920-204-9364

e 920-333-1938

FIREARM ASSOCIATED WITH CORY W. DONALDSON

28. On January 12, 2016, Cory W. Donaldson (DOB: 06/03/1990) purchased a

Ruger, model SRIC, Imm pistol, displaying serial number 336-45829 (herein referred to

as Firearm 4) from FFL Mills Fleet Farm, 629 Rogersville Road, Fond du Lac, WI.

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29. On August 14, 2016, CPD arrested Vester Ward (DOB: 06/25/1992, Four
Corner Hustler) at 1548 N. Le Claire Avenue, Chicago, after they observed Ward in
possession of Firearm 4. CPD officers recovered Firearm 4 and a placed Ward into
custody for violations of Illinois State Statue 720 ILCS 5.0/24-3.1-A-1, Unlawful
Possession of Handgun. This firearm was recovered in the 25 District of CPD 214 days
after it was purchased by Donaldson in Wisconsin.

30. Subsequent to the arrest, Firearm 4 was submitted for IBIS testing. As a
result, the following incidents were correlated to the Firearm 4 being transferred to
Donaldson:

e Incident 1 (CPD Report No. HZ278908): On May 25, 2016, CPD responded
to 1232 N. Lockwood Avenue, Chicago for a call of shots fired. Upon arrival, CPD
found a victim who had suffered four (4) gunshot wounds to the right leg and groin.
On scene, CPD recovered thirteen (13) expended 9 mm cartridge casing that were
correlated via IBIS to Firearm 4. This makes the new time to crime for Firearm 4
approximately 81 days.

e Incident 2 (CPD Report No. HZ322726): On June 25, 2016, CPD responded
to a call of criminal damage to property at 4934 W. Potomac Avenue, Chicago. Officers
found that a vehicle had sustained damage from gunshots. On scene, CPD recovered
eleven (11) expended 9mm cartridge casings that correlated via IBIS to Firearm 4.

e Incident 3 (CPD Report No. HZ353014): On July 17, 2016, CPD responded
to a shots fired call at 5010 W Hirsch Street, Chicago to multiple shots fired. No victims

or suspects were found. On scene, CPD recovered three (3) expended 9mm cartridge

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casings correlated via IBIS to Firearm 4. Also recovered were two (2) expended .45
caliber cartridge casings from a second firearm, thirteen (13) expended 9mm cartridge
casings from a third firearm, and twenty-five (25) expended 9mm cartridge casings
from a fourth firearm.

31. Your Affiant reviewed the ATF Form 4473 for Firearm 4 and discovered
that Donaldson provided a home address of W6824 Blue Heron, Boulevard, Apartment
No. 2, Fond du Lac, WI for his home address. This address is in the same apartment
complex and in close proximity to where Shakie Davis was arrested on April 12, 2017,
by LWAM (W6854 Blue Heron Boulevard, Apartment #16, Fond du Lac, WI).

FIREARMS ASSOCIATED WITH MICHAEL R. ACKLEY

32. During the review of firearm traces, Affiant discovered that Michael R.
Ackley (DOB: 09/08/1986) of Fond du Lac, WI, purchased at least ten (9) firearms from
FFLs Mills Fleet Farm, 629 Rogersville Road, Fond du Lac, WI and Midwestern
Shooter’s Supply, 191 Church Street, Lomira, WI, between 2012 and 2014. Of these
firearms, the following five (5) were recovered in or nearby Chicago:

° Firearm 5: Ruger, model SR40C, .40 caliber pistol displaying serial number
343-37215, transferred to Ackley on 09/20/2012 from Midwestern Shooters Supply in
Lomira. Recovered by CPD on 05/22/2016 at 4038 W. Wilcox Street, Chicago with a
time to crime of 1340 days.

e Firearm 6: Century Arms International, model Centurion 39, 7.62 caliber

pistol displaying serial number 39CTM01891 transferred to Ackely on 02/23/2014 from

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Mill’s Fleet Farm in Fond du Lac. Law enforcement recovered Firearm 2 on 04/03/2016
at 311 Hyde Park Avenue, Bellwood, Illinois with at time to crime of 770 days.

° Firearm 7: Glock Model 23 Generation 4, .40 caliber pistol displaying serial
number UCW267 purchased by ACKLEY on 01/05/2013 from FFL Midwestern
Shooters Supply in Lomira. Recovered by ATF on 08/15/2014 at 114 S. 17 Avenue,
Maywood, Illinois, with a time to crime of 587 days.

° Firearm 8: Glock Model 23, .40 caliber pistol displaying serial number
RDL530 purchased by Ackley on 09/20/2012 from FFL Midwestern Shooters Supply in
Lomira. Firearm 4 was recovered by law enforcement on 11/27/2012 at 1150 W.
Roosevelt Road, Broadview, Illinois, with a time to crime of 68 days.

° Firearm 9: Masterpiece Arms, model MPA30T-A, 9mm pistol displaying
serial number F13453 transferred to Ackley on 03/25/2012, from Midwestern Shooter's
Supply in Lomira. CPD recovered Firearm 5 on 10/09/2012 at 2946 W. Walnut Avenue,

Chicago with a 165 day time to crime.

33. Firearm 5 was recovered in the 11'* District of CPD on the west side of
Chicago.
34. Firearm 6 was recovered by law enforcement during the arrest of Derrick

Craddock (DOB: 07/29/1988/Gangster Disciple) and Keshane Eli (DOB: 01/06/1995 —
convicted felon) at a residence in Bellwood. During the execution of the search warrant,
the entry team observed Eli reach for Firearm 6. Eli listed a home residence of 851 N.
Latrobe, Chicago. This address is located in the 15 District of CPD on the west side of

Chicago.

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35. Firearm 7 was recovered in Maywood during an ATF during a law
enforcement controlled buy from James Bryant (DOB: 05/04/1989 — convicted felon).
Maywood is a nearby western suburb where street gangs from the west side of Chicago
are known to exist and operate. During the operation, James was described by the

confidential informant (CI) as a subject who sold firearms in and around the west side

of Chicago.

36. Firearm 8 was recovered in Broadview, which is a western suburb near
the west side of Chicago.

37. Firearm 9 was recovered in the 13t District of CPD during the arrest of

convicted felon Kevin McCollum (DOB: 12/31/1976). The 13th district is located on

Chicago’s near west side.

FIREARM PURCHASED BY MICHAEL WARNER

38. . OnSeptember 17, 2012, Michael Warner (DOB: 05/11/1964) purchased a
- Ruger, model SR40, .40 caliber pistol, displaying serial number 342-29385 (herein
referred to as Firearm 10) from FFL Bill’s Sporting Goods located at 724 Main Street,
Lomira.

39. On April 4, 2017, Firearm 10 was recovered by CPD from a vehicle at 10
N. Pulaski Road, Chicago during the arrest of Walter Bacon (DOB: 02/08/1993 —
convicted felon - Traveling Vice Lord). This arrest occurred in the 11 District of CPD,
which is located on the west side of Chicago.

FIREARMS PURCHASED BY NICHOLAS DEVRIES, SR.

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40. On June 25, 2015, Nicholas Devries, Sr. (DOB: 07/10/1993) purchased a
Taurus model PT845, .45 caliber pistol displaying serial number NIP14669 (herein
referred to as Firearm 11) from FFL Tuffy’s Outpost, 371 N. Main Street, Fond du Lac.

41. On April 4, 2016, CPD recovered Firearm 11 on at 1242 N. Spaulding
Avenue, Chicago during the arrest of Tyshawn Terry. The time to crime was 314 days
after purchase in Wisconsin. The location of recovery for the Firearm 11 occurred in the
15th District of CPD on the west side of Chicago.

FIREARM OF TIMOTHY J. GROSSMAN

42. On April 5, 2012, Timothy Grossman (DOB: 04/02/1991) purchased a
Springfield, model XD40, .40 caliber pistol displaying serial number SD503904 (herein
referred to as Firearm 12) from FFL Mills Fleet Farm in Fond du Lac.

43. On May 08, 2016, CPD recovered Firearm 12 at 130 N. Kostner Avenue,
Chicago with a time to crime of 1,494 days. The location of recovery by CPD occurred
in the 11t District of CPD on the west side of Chicago.

CORRESPONDENCE WITH FOND DU LAC POLICE DEPATMENT

44. ATF Special Agents contacted FDLPD to inform them about potential
straw purchasers in their jurisdiction. During this correspondence, ATF learned about
the arrest of Shakie L. Davis discussed in Paragraph 1. FDLPD Officer Vance Henning
informed ATF Special Agent Matthew Mason that subsequent to the arrest of Davis,
FDLPD obtained a state search warrant to search the contents of Davis’ cellphones,
Device A and Device B. Officer Henning further informed ATF that he observed the

telephone number 920-204-8175 in each of the Davis’ cellphones. This is the same phone

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number listed on one of Norton’s ATF Form 4473 during a firearms transfer.
Additionally, Officer Henning relayed that he observed 920-204-9364 in each of Davis’
cellphones. This is the known telephone number for Amber L. Schuster (DOB:
08/23/1987) who is known as Norton’s former girlfriend. This telephone number was
also listed on one of Norton’s ATF Form 4473s.

45. Officer Henning explained to Special Agent Mason that he observed a text
message in Device A from telephone number 414-839-8295 (herein referred to as Subject
1) to Davis’ cellphone and to Justin Norton’s cellphone number 920-375-0336. Davis’
cellphone sends a photograph via text message to Subject 1 of a firearm that appears
consistent with a Masterpiece Arms, model Defender, 5.7x28mm pistol. The
Masterpiece Arms model Defender, 5.7x28mm pistol is a similar design to the
Masterpiece Arms, model MPA30T-A, 9mm pistol displaying serial number F13453
transferred to Ackley on 03/25/2012, that was recovered by CPD on the west side of
Chicago approximately 165 days after it was purchased by Ackley in Wisconsin.

46. Officer Henning also explained to Special Agent Mason that he observed
another text message conversation between Davis and Subject 1. On September 18,
2016, Subject 1 sends a text message to Davis’ cellphone stating, “Do you have time.”
Davis cellphone text replies, “what store.” Subject 1 responds “Fleet Farm.” Davis’
cellphone text indicated to Subject 1 that he would travel to Fleet Farm.

47. Affiant knows that Fleet Farm is likely in reference to FFL Mills Fleet Farm

located at 629 Rogersville Road, Fond du Lac. A significant portion of the

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aforementioned firearms in this affidavit were purchased at this Mills Fleet Farm before
the recoveries in or near Chicago.

48. Affiant reviewed the criminal history of Shakie L. Davis and discovered
he is a convicted felon for violations of Illinois State Statutes 720 ILCS 570/402-C,
Possession of Controlled Substance (Case No. 2012CR059950 - guilty verdict on
04/10/2012).

49. As of February 13, 2017, the criminal history of Shakie L. Davis listed an
address of 3324 W. Le Moyne Street, Chicago. This residence is located within the 14
District of CPD, which is also on the west side of Chicago.

50. The above examples of conversations, reports, and interviews have led the
Affiant to believe that Shakie L. Davis is involved in the illegal obtainment and
distribution of firearms. I respectfully request to search the forensic examination
reports generated by FDLPD associated with Device A and Device B, so they can be

used to further investigate Shakie L. Davis for the following crimes:

18 U.S.C. § 922 (g) (possession of firearm by prohibited person)

18 U.S.C. § 922 (d) (sale or transfer of firearm to a prohibited person)

18 U.S.C. § 922(a)(6) (False statement as to material fact to FFL)

21 U.S.C. § 841(a)(1) (manufacture, dispense, disperse a controlled
substance)
CONCLUSION
51. Based on the forgoing, I request that the Court issue the proposed search

watrant based on the aforementioned facts.

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ATTACHMENT A
Property to Be Searched

1. This warrant applies to information associated with:

a. A black, IPhone, Model: A1661, FCC ID: BCG-E3Q87A, IC: 579C-E3087A,
associated with Fond du Lac Police Department (FDLPD) Inventory No.
22 (Device A)

b. A blue, Verizon Samsung flip phone, Model: SM-B311V, SKU:
SMB311VZPP, FCC ID: A3LSMB311V, MEID HEX: A00000475A0080,
associated with FDLPD Inventory No. 22 (Device B)

c. This includes all previously generated FDLPD/WLAM forensic analysis
reports and findings, for Device A and Device B, that are typically

generated after the forensic examination of an electronic device.

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ATTACHMENT B

Particular Things to be Seized

a. All records on the devices described in Attachment A that relate to
violations of 18 U.S.C. § 922(g) (possession of firearm by prohibited person) , 18 U.S.C. §
922(d) (sale or transfer of firearm to a prohibited person), 18 U.S.C. § 922(a)(6) (False
statement as to material fact to FFL), (21 U.S.C. § 841(a) (1) (manufacture, dispense,
disperse a controlled substance):

b. Items such as, but not limited to, call logs, phonebooks, saved usernames
and passwords, text messages, emails, videos, documents, and Internet browsing
history. This includes deleted, edited and current forms of these items.

C. Evidence of user attribution showing who used or owned the devices at
the time the things described in this warrant were created, edited, or deleted, such as
call logs, phonebooks, saved usernames and passwords, text messages, emails, videos,

documents, and Internet browsing history.

d. Device information.
e. GPS coordinates or device location
f. Any external memory device such as, but not limited to, SIM cards.

As used above, the terms “records” and “information” include all of the
foregoing items of evidence in whatever form and by whatever means they may have
been created or stored, including any form of electronic storage and any photographic

form.

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g. The existing FDLPD forensic analysis reports and findings, for Device A
and Device B, that are typically generated after the forensic examination of an electronic
device. The records related to these cellphones that were previously obtained through a

state search warrant.

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